  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 1 of 12



                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SEAN WHITE                  §
                            §                         CIVIL ACTION NO.
Plaintiff                   §
                            §
VS.                         §
                            §
YORKTOWN CREOLE APARTMENTS, §
  LTD.                      §
                            §
Defendant                   §

                                       COMPLAINT

TO THE U.S. DISTRICT JUDGE:

       COMES NOW, Plaintiff SEAN WHITE and brings this cause of action against

YORKTOWN CREOLE APARTMENTS, LTD., (“CREOLE LTD.”). YORKTOWN

CREOLE APARTMENTS, LTD., owns, controls, manages, and rents the real estate,

property, and improvements in Houston, Texas where a business named THE

YORKTOWN APARTMENTS operates. Mr. WHITE respectfully shows that the

Defendant’s real estate, property, and improvements at the location are not accessible to

individuals with mobility impairments and disabilities, in violation of federal law.



                                         I. CLAIM

       1.      Mr. WHITE, a person with a physical disability and mobility impairments,

brings this action for declaratory and injunctive relief, attorneys’ fees, costs, and

litigation expenses against Defendant for violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).



                                                                                            1
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 2 of 12



        2.     Defendant refused to provide Mr. WHITE and others similarly situated

with sufficient ADA-compliant parking in the parking lot that serves THE YORKTOWN

APARTMENTS. At the Houston location, there is no ADA-Compliant Van Accessible

space (96” wide with 96” side access aisle) near the entrance to the business. The

disabled parking spaces do not have access aisles and are not located on the shortest path

to the main business entrance.

        Based on these facts, DEFENDANT has denied Mr. WHITE the ability to enjoy

the goods, services, facilities, privileges, advantages, and accommodations at THE

YORKTOWN APARTMENTS.



                            JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

Act of 1990, 42 U.S.C. §12101, et seq.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

events complained of occurred in Houston, Texas where THE YORKTOWN

APARTMENTS business is located.



                                         PARTIES

       5.      Plaintiff SEAN WHITE is an Honorably-discharged, U.S. Army veteran

that completed multiple tours in Afghanistan. As a result of his service, Mr. White has

mobility impairments and traumatic brain injury (TBI). Mr. WHITE has a disability and

mobility impairments, as established by the Federal government and the Veteran’s

Administration. Mr. White has a disabled placard on his vehicle from the State of Texas.


                                                                                            2
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 3 of 12



Mr. WHITE has significant mobility impairments and uses assistive devices for mobility.

He is a “qualified individual with a disability” within the meaning of ADA Title III.

       6.      Defendant YORKTOWN CREOLE APARTMENTS, LTD., owns,

manages, controls, and leases the improvements and building where THE YORKTOWN

APARTMENTS is situated. The address of THE YORKTOWN APARTMENTS is 4520

San Felipe St, Houston, TX 77027. The business is a place of public accommodation,

operated by a private entity, whose operations affect commerce within the meaning of

Title III of the ADA.

       7.      Defendant YORKTOWN CREOLE APARTMENTS, LTD., is the owner

of the property. Defendant is a domestic limited partnership whose headquarters is 99

Detering, Ste 200, Houston, TX 77007. Defendant can be served process via service to its

Registered Agent: Marvy A. Finger at 99 Detering, Ste 200, Houston, TX 77007, as

indicated by records from the Texas Secretary of State’s Office.

                                        II. FACTS

       8.      THE YORKTOWN APARTMENTS is a business establishment and place

of public accommodation in Houston, Texas. THE YORKTOWN APARTMENTS is

situated on real estate, property, and improvements owned, controlled, managed, and

leased out by YORKTOWN CREOLE APARTMENTS, LTD.

       9.      THE YORKTOWN APARTMENTS is not accessible to disabled

individuals because it has zero ADA-Compliant Van Accessible parking spaces. At the

Houston location, there is no ADA-Compliant Van Accessible space (96” wide with 96”

side access aisle) near the entrance to the business. The disabled parking spaces do not

have access aisles and are not located on the shortest path to the main business entrance.

       10.     Pictures taken at the location prove this:


                                                                                             3
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 4 of 12




THE YORKTOWN APARTMENTS business in Houston TX. There is no ADA-
 Compliant Van Accessible space (96” wide with 96” side access aisle) near the entrance
 to the business. The disabled parking spaces do not have access aisles and are not
 located on the shortest path to the main business entrance.




THE YORKTOWN APARTMENTS business in Houston TX. There is no ADA-
 Compliant Van Accessible space (96” wide with 96” side access aisle) near the entrance
 to the business. The disabled parking spaces do not have access aisles and are not
 located on the shortest path to the main business entrance.


                                                                                      4
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 5 of 12




THE YORKTOWN APARTMENTS business in Houston TX. There is no ADA-
 Compliant Van Accessible space (96” wide with 96” side access aisle) near the entrance
 to the business. The disabled parking spaces do not have access aisles and are not
 located on the shortest path to the main business entrance.




                                                                                      5
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 6 of 12




THE YORKTOWN APARTMENTS business in Houston TX. There is no ADA-
 Compliant Van Accessible space (96” wide with 96” side access aisle) near the entrance
 to the business. The disabled parking spaces do not have access aisles and are not
 located on the shortest path to the main business entrance.


                                                                                      6
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 7 of 12




THE YORKTOWN APARTMENTS business in Houston TX. There is no ADA-
 Compliant Van Accessible space (96” wide with 96” side access aisle) near the entrance
 to the business. The disabled parking spaces do not have access aisles and are not
 located on the shortest path to the main business entrance.


       11.     The Plaintiff went to THE YORKTOWN APARTMENTS property in

March of 2021.

       12.     In encountering and dealing with the lack of an accessible facility, the

Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

and equal access to facilities, privileges and accommodations offered by the Defendant.

Plaintiff intends to return to THE YORKTOWN APARTMENTS. By not having an

ADA-compliant parking area, the Plaintiff’s life is negatively affected because he is not

able to safely remove his mobility assistance devices without fear of being struck by a

vehicle. This causes the Plaintiff depression, discomfort, and emotional stress and the

Plaintiff is prevented from resuming a normal lifestyle and enjoying access to businesses



                                                                                              7
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 8 of 12



in his area.

        13.    Additionally, on information and belief, the Plaintiff alleges that the

failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

and obvious; (2) the Defendant exercised control and dominion over the conditions at this

location and, therefore, the lack of accessible facilities was not an “accident” because

Defendant intended this configuration; (3) Defendant has the means and ability to make

the change; and (4) the changes to bring the property into compliance are “readily

achievable.”

        14.    The Defendant’s Houston location does not have the required number of

ADA parking spaces. With 1-25 parking spaces, Defendant must have one ADA-

compliant Van Accessible space (96” Wide with 96” Side Access Aisle) with a sign. This

space must be located close to the entrance of the business. See pictures above, and

Exhibit 1.

        15.    At the Houston location, there is no ADA-Compliant Van Accessible

space (96” wide with 96” side access aisle) near the entrance to the business. The

disabled parking spaces do not have access aisles and are not located on the shortest path

to the main business entrance.

        16.    The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

federal law for 30 years.



          III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
               WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101


        17.    Plaintiff repleads and incorporates by reference, as if fully set forth again

herein, the allegations contained in all prior paragraphs of this complaint.


                                                                                               8
  Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 9 of 12



        18.     Under the ADA, it is an act of discrimination to fail to ensure that the

privileges, advantages, accommodations, facilities, goods and services of any place of

public accommodation is offered on a full and equal basis by anyone who owns, leases,

or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

is defined, inter alia, as follows:

                a.      A failure to make reasonable modifications in policies practices, or

        procedures, when such modifications are necessary to afford goods, services,

        facilities, privileges, advantages, or accommodations to individuals with

        disabilities, unless the accommodation would work a fundamental alteration of

        those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                b.      A failure to remove architectural barriers where such removal is

        readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

        reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

                c.      A failure to make alterations in such a manner that, to the

        maximum extent feasible, the altered portions of the facility are readily accessible

        to and usable by individuals with disabilities, including individuals who use

        wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

        the altered area and the bathrooms, telephones, and drinking fountains serving the

        altered area, are readily accessible to and usable by individuals with disabilities.

        42 U.S.C. § 12183(a)(2).

        19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

Defendant must have at least one ADA-compliant Van Accessible space (96” Wide with

                                                                                               9
 Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 10 of 12



96” Side Access Aisle) near the business entrance. See Exhibit 1.

       20.     Here, the Defendant did not provide a sufficient number of ADA-

compliant parking spaces in its parking lot, although doing so is easily and readily done,

and therefore violated the ADA. There is no ADA-Compliant Van Accessible space (96”

wide with 96” side access aisle) near the entrance to the business. The disabled parking

spaces do not have access aisles and are not located on the shortest path to the main

business entrance.



                                   IV. RELIEF REQUESTED

Injunctive Relief

       21.     Mr. WHITE will continue to experience unlawful discrimination as a

result of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he

and all individuals with disabilities can access the Defendant’s property equally, as

required by law, and to compel Defendant to repave and restripe the parking lot to

comply with the ADA. Injunctive relief is also necessary to compel Defendant to keep

the property in compliance with federal law.



Declaratory Relief

       22.     Mr. WHITE is entitled to declaratory judgment concerning Defendant’s

violations of law, specifying the rights of individuals with disabilities to access the goods

and services at the Defendant’s location.

       23.     The facts are undisputed and Defendant’s non-compliance with the ADA

has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

violations by the Defendant.


                                                                                          10
 Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 11 of 12



Attorneys’ Fees and Costs

          24.   Plaintiff is entitled to reasonable attorneys’ fees, litigation costs, and court

costs, pursuant to 42 U.S.C. §12205.



                                V. PRAYER FOR RELIEF

          THEREFORE, Mr. WHITE respectfully requests this Court award the following

relief:

          A.    A permanent injunction, compelling Defendant to comply with the

Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

from discriminating against Mr. WHITE and those similarly-situated, in violation of the

law;

          B.    A declaratory judgment that Defendant’s actions are a violation of the

ADA;

          C.    Find that Mr. WHITE is the prevailing party in this action, and order

Defendant liable for Plaintiff’s attorneys’ fees, costs, and litigation expenses; and,

          D.    Grant such other and additional relief to which Plaintiff may be entitled in

this action.



    DATED: APRIL 6, 2021                        Respectfully,

                                        By:     /s/ R. Bruce Tharpe
                                                R. Bruce Tharpe

                                                LAW OFFICE OF
                                                R. BRUCE THARPE, PLLC
                                                PO Box 101
                                                Olmito, TX 78575
                                                (956) 255-5111 (Tel)



                                                                                             11
Case 4:21-cv-01137 Document 1 Filed on 04/07/21 in TXSD Page 12 of 12



                                  Email: Questions@BruceTharpeLaw.com

                                  ATTORNEY OF RECORD FOR
                                  PLAINTIFF SEAN WHITE




                                                                        12
